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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA


 MICHAEL J. LINDELL and
 MYPILLOW, INC.,
                                                   Case No. 22-cv-02290-ECT-ECW
                      Plaintiffs,

 v.
                                                   PLAINTIFFS’ MOTION FOR A
 UNITED STATES OF AMERICA,                         TEMPORARY RESTRAINING
 MERRICK GARLAND in his official                   ORDER AND FOR RETURN OF
 capacity as Attorney General of the               PROPERTY PURSUANT TO
 United States, the United States Attorney         FED. R. CRIM. P. 41(g)
 for the District of Minnesota, and
 CHRISTOPHER WRAY in his official
 capacity as Director of the Federal Bureau
 of Investigation,                                 EXPEDITED HANDLING
                                                   REQUESTED
                       Defendants.


       Plaintiffs Michael J. Lindell and MyPillow, Inc., hereby move the Court for a

Temporary Restraining Order and an Order pursuant to Fed. R. Crim. P. 41(g) that

Defendants (1) return to Mr. Lindell the cell phone seized from Mr. Lindell on September

13, 2022; (2) cease all attempts to access data stored on the cell phone; and (3) refrain

from accessing any information already taken from the cell phone. Plaintiffs request that

this Motion be handled by the Court on an expedited basis. Plaintiffs further request that

the Court immediately order Defendants to refrain from accessing or taking any action

with respect to the seized cell phone until this Motion is heard, to preserve the status quo.

       This motion is based on Rule 65 of the Federal Rules of Civil Procedure and Rule

41(g) of the Federal Rules of Criminal Procedure, and is supported by the Memorandum


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in Support of Plaintiffs’ Motion for a Temporary Restraining Order and for Return of

Property Pursuant to Fed. R. Crim. P. 41(g), Exhibits 1-4 filed herewith including the

Declaration of Michael J. Lindell, and all the files, records, and proceedings herein.



Dated: September 21, 2022                 PARKER DANIELS KIBORT LLC

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